Case No. 1:20-cv-00078-CMA-KAS Document 142-17 filed 10/20/23 USDC Colorado pg 1
                                     of 6




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-00078-CMA-SKC

  Plaintiff:

  A.C. as Parent and Next Friend of Minor S.T.C.,

  v.

  Defendants:

  JEFFERSON COUNTY R1 SCHOOL DISTRICT, JEFF GOMEZ, individually,
   and WILLIAM CARLIN, individually.


    DEFENDANTS’ RESPONSES TO PLAINTIFF’S SECOND REQUEST FOR
       WRITTEN DISCOVERY TO JEFFERSON COUNTY SCHOOL R-1


        Defendants Jefferson County School District R-1, Jeff Gomez, and William
  Carlin, through undersigned counsel, submit the following responses to Plaintiff’s
  Second Request for Written Discovery to Jefferson County School R-1.

                              GENERAL OBJECTIONS

        1.     Defendants have made a good faith effort to respond to the requests for
  written discovery but reserve the right to object to and update requested information
  in accordance with the Federal Rules of Civil Procedure. Further, discovery is
  ongoing, and Defendants may supplement these responses if more information is
  discovered and additional documents are located.

         2.     Defendants object to discovery requests seeking information protected
  from disclosure by the attorney-client privilege, the work product doctrine, and any
  other rule or privilege, confidentiality, or immunity provided by law.

        3.     Defendants object to any requests for written discovery seeking
  production of information which would violate privacy rights.

         4.     Defendants object to each request for written discovery calling for
  identification or production of documents previously produced in this litigation.

                                           1
Case No. 1:20-cv-00078-CMA-KAS Document 142-17 filed 10/20/23 USDC Colorado pg 2
                                     of 6




         6.     Defendants object to each request for written discovery requiring “each”,
  “every”, “all”, “any”, “any time” or “each and every,” “person(s),”, “entity(ies),”
  “document(s),” “statement(s)”, “fact(s)”, or “circumstance(s)” on the grounds that such
  requests are vague and ambiguous, overly broad, and unduly burdensome and may
  seek information not relevant to the claims or defenses of any party.

         7.    Defendants object to each request for written discovery to the extent
  such request calls for trial preparation materials or mental impressions and strategy
  of counsel.

        8.     Defendants reserve their right to object to additional discovery
  addressed to matters covered by these discovery requests, whether or not Defendants
  furnish the answers herein.

         10.  Defendants reserve their right to supplement, revise, add to, clarify, or
  correct any answers or responses herein. Defendants’ answers and responses are
  based upon their understanding of the inquiries proposed by Plaintiffs’ discovery
  requests and Defendants assume no responsibility for providing information outside
  of Defendants’ care, custody, or control.

                REQUESTS FOR PRODUCTION OF DOCUMENTS

          1.    Produce the complete files (including, but not limited to,
  correspondence, billings, reports, test results, notes, etc.) of all experts endorsed,
  listed, or who may or will be called at trial.

         Response 1: Defendants will produce documents responsive to this request
  consistent with the scheduling order related to expert disclosures.

         2.    Please produce all documents and responses produced by the Wheat
  Ridge Police Department, Arapahoe County Sheriff’s Office, Aurora Police
  Department, Colorado Department of Corrections, Arapahoe County: Office of the
  District Attorney, Las Animas Sheriffs Department, Trinidad Police Department,
  Colorado Department of Corrections, Ashley Nelson Enso Counseling, Health
  Solutions, or any other entity pursuant to Defendants’ Subpoenas to Produce
  Documents, Information, or Objects or to Permit Inspection of Premises in a Civil
  Action issued in this case.

         Response: Defendants have produced or are producing all documents
  received in response to a subpoena. See Bates JCSD 00137-00586, 01094-01163,
  01164-01247, 02017-2189, 02190-02359, 02467-02709, 02710-02755.


                                            2
Case No. 1:20-cv-00078-CMA-KAS Document 142-17 filed 10/20/23 USDC Colorado pg 3
                                     of 6




        3.     Please produce all documents and responses produced by any medical
  provider for Plaintiff Sarah Tankersley-Clark in this case.

        Response 3: All documents responsive to this request have been produced. See
  Bates JCSD 00818-00984, 00985-01093, 01094-01163, 01164-01247, 01248-01503,
  01504-01934, 01935-02006, 02007-02016, 02017-02189, 02360-02361, 02362-02370,
  and 02371-02373.

        4.    Please produce all staff meeting agendas for weekly staff meetings at
  Everitt Middle School between August 1, 2011, and December 31, 2017.

         Response 4: Defendants object to this request because it is overbroad and
  seeks information that outside the relevant time frame of this case, regardless of
  subject matter discussed at the meetings, and thus is neither relevant nor
  proportionate to the needs of the case. Subject to this objection, Defendants state that,
  despite a reasonably diligent search, Defendants could not locate any documents in
  their respective possession, custody, or control responsive to this request. Defendants
  refer Plaintiff to the deposition transcripts of Jeff Gomez and Tim Carlin concerning
  weekly staff meetings at Everitt Middle School.

        5.    Please produce all documentation or communications relating to
  assemblies held in response to sexual harassment or sexual assault at Everitt Middle
  School between August 1, 2011, and December 31, 2017.

         Response 5: Defendants object to this request because it is overbroad and
  seeks information that outside the relevant time frame of this case and thus is neither
  relevant nor proportionate to the needs of the case. Subject to this objection,
  Defendants state that, despite a reasonably diligent search, Defendants could not
  locate any responsive documents in their respective possession, custody, or control.
  Defendants refer Plaintiff to the deposition transcripts of Jeff Gomez and Tim Carlin
  concerning relevant assemblies at Everitt Middle School.

        6.     Please produce all communications or documents related to classroom
  talks on Titty Touch Tuesday or Slap Ass Friday as referenced by Defendant Jeff
  Gomez during his deposition.

         Response 6: Defendants object to this request because it is overbroad and
  seeks information that outside the relevant time frame of this case and thus is neither
  relevant nor proportionate to the needs of the case. Subject to this objection,
  Defendants state that, despite a reasonably diligent search, Defendants could not
  locate any responsive documents in their respective possession, custody, or control.


                                             3
Case No. 1:20-cv-00078-CMA-KAS Document 142-17 filed 10/20/23 USDC Colorado pg 4
                                     of 6




  Defendants refer Plaintiff to the document previously produced and marked JCSD
  799-800 concerning reports of “butt slap Friday” and how the school would address
  allegations of sexual misconduct. Defendants further refer Plaintiffs to the deposition
  transcripts of Jeff Gomez, Tim Carlin, and Allison McDonald concerning how the
  school addressed or would address allegations of sexual harassment or sexual
  misconduct in the school setting.

       7.     Please produce any Title IX checklist filled out in regards to Sarah
  Tankersley-Clark.

        Response 7: Defendants have produced any documents responsive to this
  request for production and refer Plaintiffs to the document marked JCSD 760. Please
  also see the deposition transcripts of Jeff Gomez and Tim Carlin concerning the
  process the school utilized related to S.T.C.’s allegations of sexual misconduct and
  when any “Title IX checklists” were available to or utilized by Everitt staff.

        8.    Please produce any communication between Jeff Gomez and Craig Hess
  or Kevin Caroll relating to Sarah Tankersley-Clark.

        Response 8: Defendants object to this request for production because it seeks
  information that is protected from disclosure by the attorney-client privilege, which
  are noted on the privilege log enclosed with this discovery response.

        9.    Please produce any communication between William Carlin and Craig
  Hess or Kevin Caroll relating to Sarah Tankersley-Clark.

        Response 9: Defendants object to this request for production because it seeks
  information that is protected from disclosure by the attorney-client privilege, which
  are noted on the privilege log enclosed with this discovery response.

        10.   Please produce all documents from the “thorough investigation”
  performed by Jeff Gomez or employees of Everitt Middle School into harassment of
  Sarah Tankersley-Clark as referenced in page 103, paragraph 22-23 of Jeff Gomez’s
  deposition.

        Response 10: Defendants have produced all documents in their possession,
  custody, or control concerning the investigation(s) of S.T.C.’s allegations of sexual
  harassment and assault and further refer Plaintiffs to the deposition transcript of
  Jeff Gomez, Tim Carlin, Scott Allensworth, Craig Hess, and Allison McDonald and
  documents referenced therein concerning the investigation(s).

        11.    Please produce all documents in the Campus program related to Sarah

                                            4
Case No. 1:20-cv-00078-CMA-KAS Document 142-17 filed 10/20/23 USDC Colorado pg 5
                                     of 6




  Tankersley-Clark.

         Response 11: Defendants have previously produced all documents responsive
  to this request and refer Plaintiff to documents marked JCSD 20-128.

                            REQUESTS FOR ADMISSION

        1.     Admit that Defendant Jefferson County School District RE-1 received
   federal financial assistance.

         Response: Defendants admit that Jefferson County School District RE-1, as
  a public school district, received federal financial assistance during all times relevant
  to this case, namely the 2016-17 and 2017-18 school year.




                                             5
Case No. 1:20-cv-00078-CMA-KAS Document 142-17 filed 10/20/23 USDC Colorado pg 6
                                     of 6




                              Verification for Objections
        Respectfully submitted this 30th day of June 2022.

                                                 CAPLAN AND EARNEST LLC

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                                                 Attorneys for Defendants

                             CERTIFICATE OF SERVICE
        This is to certify that on June 30, 2022, a true and correct copy of the foregoing
  was served electronically to counsel for Plaintiff at the email address listed below:

  Edward Milo Schwab, Esq.
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                                             6
